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 9
     Attorneys for Tecumseh–Infinity Medical
10   Receivable Fund, LP

11                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEVADA
12
     In re:                                       Case No. 21-14486-abl
13
     INFINITY CAPITAL MANAGEMENT,                 Chapter 7
14   INC. dba INFINITY HEALTH
     CONNECTIONS,
15
                          Debtor.
16   HASELECT-MEDICAL RECEIVABLES                 Adversary Case No. 21-01167-abl
     LITIGATION FINANCE FUND
17   INTERNATIONAL SP,
18                        Plaintiff,              TECUMSEH-INFINITY MEDICAL
19   v.                                           RECEIVABLES FUND, LP’S
                                                  STATEMENT OF DISPUTED FACTS IN
20   TECUMSEH–INFINITY MEDICAL                    SUPPORT OF OPPOSITION TO
     RECEIVABLES FUND, LP,                        MOTION FOR PARTIAL SUMMARY
21                        Defendant.              JUDGMENT AS TO CERTAIN
                                                  DISPUTED RECEIVABLES
22   TECUMSEH–INFINITY MEDICAL
     RECEIVABLES FUND, LP,
23
                          Counter-Claimant,
24   v.
25   HASELECT-MEDICAL RECEIVABLES
     LITIGATION FINANCE FUND                      Date:   May 26, 2022
26                                                Time:   9:30 a.m.
     INTERNATIONAL SP; ROBERT E.
27   ATKINSON, CHAPTER 7 TRUSTEE,

28                        Counter-Defendants.

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 1    ROBERT E. ATKINSON, CHAPTER 7
      TRUSTEE,
 2
                            Counter-Claimant,
 3    v.
 4    TECUMSEH–INFINITY MEDICAL
      RECEIVABLES FUND, LP,
 5
                            Counter-Defendant.
 6

 7          Pursuant to LR 7056, Defendant and Counterclaimant Tecumseh–Infinity Medical
 8   Receivable Fund, LP (“Tecumseh”) respectfully submits this following statement of disputed
 9   facts in support of its opposition (the “Opposition”) to the Motion for Partial Summary
10   Judgment as to Certain Disputed Receivables [ECF No. 53] of Plaintiff HASelect-Medical
11   Receivables Litigation Finance Fund International LP (“HASelect”).
12         HASELECT’S UNDISPUTED FACTS                       TECUMSEH’S RESPONSE AND
           AND SUPPORTING EVIDENCE                           SUPPORTING EVIDENCE
13
      1.   Beginning in February 2019, HASelect              Admitted
14
           made a series of loans to Infinity that
15         were documented through various written
           loan agreements and promissory notes
16         through which Infinity pledged
           substantially all of its personal property,
17         including accounts receivable, to
           HASelect as collateral for such loans.
18

19         See Declaration of Michael Griffin (the
           “Griffin Declaration”) ¶ 5, submitted
20         herewith.

21    2.   HASelect perfected its security interest in       Admitted
           all of Infinity’s personal property through
22         the filing of a UCC-1 with the Nevada
23         Secretary of State on February 19, 2019.

24         See id. at ¶ 6; see also UCC-1 filing
           submitted as Exhibit 2.
25
      3.   On or about December 18, 2019,                    Admitted
26         HASelect, which was then doing
           business under the name HASelect-FTM
27
           Medical Receivables Litigation Finance
28         Fund SP, and Infinity entered into a

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 1        Second Amended & Restated Loan and
          Security Agreement and Promissory Note
 2        (together with all prior and related loan
          documents, the “MLA”), which
 3
          superseded all prior written loan
 4        agreements and promissory notes entered
          into between HASelect and Infinity.
 5
          See Griffin Declaration, ¶ 7; see also
 6        MLA submitted as Exhibit 1.
 7   4.   HASelect holds a perfected security               Admitted
 8        interest in substantially all of Infinity’s
          personal property (as defined in § 4.1 of
 9        the MLA, the “Collateral”).

10        See id. at § 4.1.

11   5.   Pursuant to the MLA, Infinity agreed to           Admitted
          use the loan proceeds it received from
12        HASelect to purchase accounts
13        receivable from medical providers.

14        Id. at § 3.2.

15   6.   Such accounts receivable generally arose          Admitted
          from medical treatment or prescription
16        medication provided to individuals who
          were injured in accidents and had
17
          asserted personal injury claims against
18        third parties. These accounts receivable
          are secured by liens against these
19        personal injury claims and are typically
          paid at the time the personal injury
20        claims are settled.
21        See Griffin Declaration, ¶ 11.
22
     7.   Infinity purchased these accounts                 Admitted
23        receivable pursuant to contracts it entered
          into directly with various medical
24        providers.
25        See Infinity’s Amended Schedule G filed
          in the chapter 7 case at ECF No. 91.
26

27   8.   In addition to the contracts Infinity             Admitted
          entered into with the sellers of the
28        accounts receivable, Infinity also

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 1        received direct assignments of the
          individual personal injury claimants’
 2        rights to recovery.
 3        See Excerpts from Transcript of
 4        November 9, 2021 Rule 2004
          Examination of Anne Pantelas (the
 5        “Pantelas Transcript”) submitted
          herewith as Exhibit 4, pp. 66-67.
 6
     9.   To ensure that HASelect received a                Admitted
 7        perfected, first-priority security interest
 8        in all accounts receivable purchased by
          Infinity (as well as all other Collateral),
 9        HASelect required that Infinity use part
          of loan proceeds advanced by HASelect
10        to repay and retire a prior secured debt
          owed to Law Finance Group, LLC,
11        which had similarly advanced funds to
12        Infinity for the purchase of accounts
          receivable.
13
          See Pantelas Transcript (Exhibit 4), pp.
14        82- 83
15   10. HASelect also required that Infinity               Admitted
         apply an electronic stamp to certain
16
         documents associated with its accounts
17       receivable to identify the accounts
         receivable as HASelect’s Collateral.
18
          See Hemmers Transcript (Exhibit 3), pp.
19        108-110; Exhibit 18 to Hemmers
          Transcript (February 26, 2019 email
20        chain discussing electronic stamping of
21        documents as HASelect collateral).

22   11. From February 2019 through April 2020,             Admitted
         HASelect advanced loan proceeds
23       totaling approximately $13.7 million to
         Infinity, which was obligated under the
24       MLA to use such proceeds to purchase
25       accounts receivable.

26        See Griffin Declaration, ¶ 13.

27   12. On or about June 18, 2020, Infinity and            HASelect misquotes and misstates the Sub-
         Tecumseh entered into a Sub-Advisory               Advisory Agreement.
28

                                                        4
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 1        Agreement (the “Sub-Advisory                     The Sub-Advisory Agreement provided (at
          Agreement”) under which Infinity                 Exhibit A) that the Debtor would (i) assist
 2        agreed, among other things, to “assist           Tecumseh in acquiring medical receivables
          [Tecumseh] in acquiring an interest in           [¶ 1(a)]; (ii) identify receivables for
 3
          medical receivables in connection with           purchase by Tecumseh [¶ 3(a)]; (iii)
 4        personal injury cases” in exchange for           negotiate the purchase [¶ 1(b), ¶ 3(b)]; (iii)
          which Tecumseh agreed to pay Infinity a          arrange for Tecumseh to secure a lien or
 5        20% fee at the time of acquisition as well       equivalent security against plaintiff’s
          as 15% of the net profit earned on each          recovery [¶ 1(c)]; and (iv) arrange for
 6        such account receivable at the time of           documentation to “evidence the sale of the
          collection.                                      Receivable to the Company by the Medical
 7
                                                           Service Provider.” [¶ 3(d)]. The purpose
 8        See Sub-Advisory Agreement on file in            was to arrange a purchase by Tecumseh
          Infinity’s chapter 7 case at ECF No. 59-         “directly from the Medical Service
 9        3. A copy of the Sub-Advisory                    Provider.” Sub-Advisory Agreement at Exh.
          Agreement is submitted herewith as               A, ¶ 3(b).
10        Exhibit 5; see Sub-Advisory Agreement,
          Exhibit A, § 1(a) and Exhibit B §§ (a)-(b)       See Sub-Advisory Agreement, attached
11
                                                           hereto as Exhibit A; Declaration of Michael
12                                                         Belotz in Support of Opposition to Motion
                                                           for Partial Summary Judgment as to
13                                                         Certain Disputed Receivables (“Belotz
                                                           Declaration”), at ¶ ___. See also Transcript
14                                                         of 2004 Examination of Oliver Hemmers
                                                           (“Hemmers Trans.”) Vol. II, attached
15
                                                           hereto as Exhibit N, at 185:15-20 (testifying
16                                                         that the purpose of the Sub-Advisory
                                                           Agreement was to facilitate a sale between
17                                                         the medical service providers and
                                                           Tecumseh).
18
     13. Upon signing the Sub-Advisory                     Disputed. Except for a small initial sale,
19
         Agreement, Infinity began preparing to            Tecumseh did not purchase receivables in
20       transfer accounts receivable in which             which HASelect claimed a lien or which the
         HASelect held a perfected, first-priority         Debtor had previously owned. Instead, it
21       security interest to Tecumseh by, among           purchased new receivables directly from
         other things, removing the electronic             medical providers. The Debtor acquired no
22       stamps that identified such accounts              interest in the receivables; but merely
         receivable as HASelect’s Collateral.              serviced them. The funds paid to purchase
23
                                                           the receivables did not come from the
24        See Hemmers Transcript (Exhibit 3), pp.          Debtor, but from Tecumseh.
          61, 110-112; Exhibit 25 to Hemmers
25        Transcript (June 23, 2020 emails from            See Exhibit A (Sub-Advisory Agreement) at
          Oliver Hemmers to Endre Debozy                   Exh A., ¶ 3; Hemmer Trans. Vol. II (Exhibit
26        confirming removal of electronic                 N) at 185:21-186:2, 186:9-17; Belotz Decl.
          stamps).                                         at ¶¶ 7-17, 18, 25 (describing process by
27                                                         which Tecumseh used the Debtor as a
28

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 1                                                         broker to purchase receivables)

 2   14. Within a few days after signing the Sub-          Disputed. Except for a small initial sale,
         Advisory Agreement, Infinity began                Tecumseh did not purchase receivables in
 3       selling accounts receivable in which              which HASelect claimed a lien or which the
 4       HASelect held a perfected, first-priority         Debtor had previously owned. Instead, it
         security interest to Tecumseh without             purchased new receivables directly from
 5       HASelect’s knowledge or consent and in            medical providers. The Debtor acquired no
         violation of Infinity’s contractual               interest in the receivables; but merely
 6       obligations under the MLA.                        serviced them. The funds paid to purchase
                                                           the receivables did not come from the
 7        See Hemmers Transcript, pp. 110-114              Debtor, but from Tecumseh.
 8        (“Q: And it may have not been clear
          earlier, but I believe I asked you if any        See Sub-Advisory Agreement (Exhibit A) at
 9        accounts in which HASelect held a                Exh A., ¶ 3; Hemmer Trans. Vol. II (Exhibit
          security interest were sold to any other         N) at 185:21-186:2; 186:9-17; Belotz Decl.
10        party, and I thought you had told me no.         at ¶¶ 7-17, 25 (describing process by which
          So just -- A: Under the blanket UCC[?]           Tecumseh used the Debtor as a broker to
11        Q: Yes, under the blanket UCC. A: Yeah.          purchase receivables).
12        In that case the Tecumseh receivables
          were the only ones that fall in that             See also Hemmers Trans. Vol II (Exhibit N)
13        category.”); see also Griffin Declaration,       at 200:3-17 (testifying that he believed that
          ¶ 15                                             HASelect was aware of the June 2020 sale)
14                                                         and 195:24-198:7 (testifying that HASelect
                                                           had knowledge of the business relationship
15                                                         between the Debtor and Tecumseh and
                                                           authorized the payments to Tecumseh from
16
                                                           funds received by the Debtor); Belotz Decl.
17                                                         at ¶ 19 (testifying that Hemmers informed
                                                           Tecumseh that HASelect had consented to
18                                                         the sale so that it could be paid the $294,000
                                                           that Tecumseh was paying for the
19                                                         receivables in partial repayment of
20                                                         HASelect’s loan.).

21                                                         Further discovery is necessary to fully
                                                           respond. In particular, correspondence
22                                                         between HASelect and the Debtor must be
                                                           produced and the following persons need to
23                                                         be deposed: Oliver Hemmer, Anne Pantelas,
                                                           appropriate representatives of HASelect.
24
                                                           HASelect has yet to respond to discovery
25                                                         and the Debtor has failed to produced any
                                                           material portion of Hemmers’ email.
26
     15. On June 19, 2020, Tecumseh issued a               In June 2020, Tecumseh purchased the
27       Receivables Purchase Order to Infinity            receivables shown on Exhibit M. This June
         (the “1-A Purchase Order”) identifying            2020 transaction was a “one off” transaction
28

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 1        approximately 258 separate accounts              and not typical of Tecumseh’s purchases of
          receivable (the “1-A Accounts”) it               Disputed Receivables.
 2        intended to purchase from Infinity for a
          total price of $294,465.70.                      See Belotz Decl. at ¶ 19; Exhibit M;
 3                                                         Hemmer Trans. Vol. II at 187:14-19.
 4        The 1-A Purchase Order was filed in
          Infinity’s chapter 7 case at ECF No. 201-
 5        4 and designated as “Exhibit D-1”. A
          copy of the 1-A Purchase Order is
 6        submitted herewith as Exhibit 6.
 7   16. On June 26, 2020, Tecumseh wired the              Admitted
 8       $294,465.70 purchase price for the 1-A
         Accounts to Infinity’s Nevada State Bank
 9       account ending in 8480.

10        See Infinity’s Nevada State Bank account
          ending in 8420 dated June 30, 2020 is
11        submitted herewith as Exhibit 7.
12   17. That same day, Infinity executed an               Admitted
13       Assignment and Bill of Sale by which it
         sold and assigned the 1-A Accounts to
14       Tecumseh.

15        See June 26, 2020 Assignment and Bill
          of Sale for the 1-A Accounts is submitted
16        herewith as Exhibit 8.
17
     18. On July 13, 2020, Tecumseh issued a               Tecumseh admits that it received the 1-B
18       second Receivables Purchase Order to              Purchase Order but denies that the
         Infinity (the “1-B Purchase Order”)               transaction was a purchase from the Debtor.
19       identifying approximately 59 separate
         accounts receivable (the “1-B Accounts”)          As described in the Belotz Declaration, the
20       it intended to purchase from Infinity for a       process for purchasing a receivable began
         total price of $90,008.34.                        with the Debtor identifying a receivable,
21                                                         negotiating with the medical provider, and
22        The 1-B Purchase Order was filed in              presenting the receivable to Tecumseh.
          Infinity’s chapter 7 case at ECF No. 201-        FTM Investments, Inc. (“FTM”) would then
23        5 and designated as “Exhibit D-2”. A             verify the receivable on behalf of
          copy of the 1-B Purchase Order is                Tecumseh, after which Tecumseh would
24        submitted herewith as Exhibit 9.                 approve of the purchase. Tecumseh then
                                                           paid the price agreed to by the medical
25
                                                           provider along with the fee required by the
26                                                         Sub-Advisory Agreement. With respect to
                                                           the Disputed Receivables, the Debtor
27                                                         periodically (roughly, every two weeks)
                                                           provided Tecumseh with a list of
28

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 1                                                       receivables from various medical providers
                                                         that the Debtor recommended that
 2                                                       Tecumseh purchase.
 3                                                       From July 13, 2020 through October 29,
                                                         2020, the Debtor sent twelve such lists.
 4                                                       Each list (attached hereto as Exhibits B
                                                         through K) identified a set of receivables
 5
                                                         that the Debtor planned to purchase on
 6                                                       Tecumseh’s behalf. For each receivable, the
                                                         Debtor provided the patient’s name, the
 7                                                       patient’s lawyer’s name, the provider, a
                                                         unique Bill ID number, the face amount, the
 8                                                       estimated purchase price and an estimated
                                                         total cost including the Debtor’s fee.
 9
                                                         Once Tecumseh approved a list, the Debtor
10                                                       generated a purchase order which Tecumseh
                                                         paid, such as the 1-B Purchase Order. The
11
                                                         Debtor then used the money to purchase
12                                                       receivables on Tecumseh’s behalf. On
                                                         occasion, the Debtor underestimated how
13                                                       much the receivables would cost. When that
                                                         happened, the Debtor requested and
14                                                       Tecumseh provided additional funds that
                                                         allowed the Debtor to complete the
15
                                                         acquisition of the listed receivables on
16                                                       Tecumseh’s behalf. On other occasions, the
                                                         Debtor was unable to acquire certain
17                                                       receivables that Tecumseh sought to
                                                         purchase. When this happened, the Debtor
18                                                       would indicate that it had cancelled those
                                                         receivables.
19
                                                         See Belotz Decl. at ¶¶ 10, 13-17; Exhibits B,
20                                                       L.
21   19. On July 23, 2020, Infinity executed an          Tecumseh admits that the bill of sale was
22       Assignment and Bill of Sale by which it         executed but denies that it actually
         sold and assigned the 1-B Accounts to           represented a sale and assignment by the
23       Tecumseh.                                       Debtor to Tecumseh.

24        See July 23, 2020 Assignment and Bill of       See Hemmer Trans. Vol. II (Exhibit N) at
          Sale for the 1-B Accounts submitted            186:9-11 (testifying that the Debtor was not
25        herewith as Exhibit 10.                        buying receivables and reselling them to
26                                                       Tecumseh); Belotz Decl. at ¶ 7 (same).

27                                                       Further discovery is necessary to fully
                                                         respond, including depositions of Hemmers
28                                                       and Pantelas, the Debtor’s accounting and

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 1                                                         banking records, its correspondence, and
                                                           documents and information regarding the
 2                                                         Debtor’s records and electronically stored
                                                           information. Such discovery is expected to
 3
                                                           show the date on which the Debtor acquired
 4                                                         the relevant Disputed Receivables from the
                                                           medical provider on Tecumseh’s behalf and
 5                                                         the date of payment to the medical provider.
 6   20. The following day, Tecumseh wired the             Admitted. Tecumseh wired funds in that
         $90,008.34 purchase price for the 1-B             amount to the Debtor for the purpose of the
 7
         Accounts to Infinity’s Nevada State Bank          Debtor acquiring the Disputed Receivables
 8       account ending in 8480.                           on Tecumseh’s behalf.

 9        See monthly account statement for                Belotz Decl. at ¶¶12, 15; Hemmer Trans.
          Infinity’s Nevada State Bank account             Vol. II (Exhibit N) at 185:21-186:2.
10        ending in 8420 dated July 31, 2020
          submitted herewith as Exhibit 11.
11
     21. On August 11, 2020, Tecumseh issued a             Tecumseh incorporates its response to
12
         third Receivables Purchase Order to               HASelect’s Statement of Fact No. 18 by
13       Infinity (the “1-C Purchase Order”)               reference as though fully set forth here.
         identifying approximately 120 separate
14       accounts receivable (the “1-C Accounts”)          See Belotz Decl. at ¶¶ 10, 13-17; Exhibits C,
         it intended to purchase from Infinity for a       L.
15       total price of $178,056.19.
16
          The 1-C Purchase Order was filed in
17        Infinity’s chapter 7 case at ECF No. 201-
          6 and designated as “Exhibit D-3”. A
18        copy of the 1-C Purchase Order is
          submitted herewith as Exhibit 12.
19
     22. On August 12, 2020, Infinity executed an          Tecumseh admits that the bill of sale was
20       Assignment and Bill of Sale by which it           executed but denies that it actually
21       sold and assigned the 1-C Accounts to             represented a sale and assignment by the
         Tecumseh.                                         Debtor to Tecumseh.
22
          See July 23, 2020 Assignment and Bill of         See Hemmer Trans. Vol. II (Exhibit N) at
23        Sale for the 1-C Accounts submitted              186:9-11 (testifying that the Debtor was not
          herewith as Exhibit 13.                          buying receivables and reselling them to
24                                                         Tecumseh); Belotz Decl. at ¶ 7 (same).
25
                                                           Further discovery is necessary to fully
26                                                         respond, including depositions of Hemmers
                                                           and Pantelas, the Debtor’s accounting and
27                                                         banking records, its correspondence, and
                                                           documents and information regarding the
28

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 1                                                      Debtor’s records and electronically stored
                                                        information. Such discovery is expected to
 2                                                      show the date on which the Debtor acquired
                                                        the relevant Disputed Receivables from the
 3
                                                        medical provider on Tecumseh’s behalf and
 4                                                      the date of payment to the medical provider.

 5   23. On August 12, 2020, August 13, 2020,           Admitted. Tecumseh wired funds in that
         and August 27, 2020, Tecumseh sent             amount to the Debtor for the purpose of the
 6       three wire transfers totaling the              Debtor acquiring the Disputed Receivables
         $178,056.19 purchase price for the 1-C         on Tecumseh’s behalf.
 7
         Accounts to Infinity’s Nevada State Bank
 8       account ending in 8480.                        Belotz Decl. at ¶¶12, 15; Hemmer Trans.
                                                        Vol. II (Exhibit N) at 185:21-186:2.
 9        See monthly account statement for
          Infinity’s Nevada State Bank account
10        ending in 8420 dated August 31, 2020
          submitted herewith as Exhibit 14.
11
     24. On August 28, 2020, Tecumseh issued a          Tecumseh incorporates its response to
12
         fourth Receivables Purchase Order to           HASelect’s Statement of Fact No. 18 by
13       Infinity (the “1-D Purchase Order”)            reference as though fully set forth here.
         identifying approximately 1,465 separate
14       accounts receivable (the “1-D Accounts”)       Belotz Decl. at ¶¶ 10, 13-17; Exhibits D, L.
         it intended to purchase from Infinity for a
15       total price of $114,323.03.
16
          The 1-D Purchase Order was filed in
17        Infinity’s chapter 7 case at ECF No. 201-
          7 and designated as “Exhibit D-4”. A
18        copy of the 1-D Purchase Order is
          submitted herewith as Exhibit 15.
19
     25. On September 10, 2020, Infinity                Tecumseh admits that the bill of sale was
20       executed an Assignment and Bill of Sale        executed but denies that it actually
21       by which it sold and assigned the 1-D          represented a sale and assignment by the
         Accounts to Tecumseh.                          Debtor to Tecumseh.
22
          See September 10, 2020 Assignment and         Hemmer Trans. Vol. II (Exhibit N) at 186:9-
23        Bill of Sale for the 1-D Accounts             11 (testifying that the Debtor was not
          submitted herewith as Exhibit 16.             buying receivables and reselling them to
24                                                      Tecumseh); Belotz Decl. at ¶ 7 (same).
25
                                                        Further discovery is necessary to fully
26                                                      respond, including depositions of Hemmers
                                                        and Pantelas, the Debtor’s accounting and
27                                                      banking records, its correspondence, and
                                                        documents and information regarding the
28

                                                   10
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 1                                                      Debtor’s records and electronically stored
                                                        information. Such discovery is expected to
 2                                                      show the date on which the Debtor acquired
                                                        the relevant Disputed Receivables from the
 3
                                                        medical provider on Tecumseh’s behalf and
 4                                                      the date of payment to the medical provider.

 5   26. On August 31, 2020 and September 11,           Admitted. Tecumseh wired funds in that
         2020, Tecumseh sent two wire transfers         amount to the Debtor for the purpose of the
 6       totaling the $114,323.33 purchase price        Debtor acquiring the Disputed Receivables
         for the 1-D Accounts to Infinity’s             on Tecumseh’s behalf.
 7
         Nevada State Bank account ending in
 8       8480.                                          Belotz Decl. at ¶¶12, 15; Hemmer Trans.
                                                        Vol. II (Exhibit N) at 185:21-186:2.
 9        See monthly account statements for
          Infinity’s Nevada State Bank account
10        ending in 8420 dated August 31, 2020
          (Exhibit 16) and September 30, 2020
11        submitted herewith as Exhibit 17.
12
     27. On September 15, 2020, Tecumseh                Tecumseh incorporates its response to
13       issued a fifth Receivables Purchase Order      HASelect’s Statement of Fact No. 18 by
         to Infinity (the “1-E Purchase Order”)         reference as though fully set forth here.
14       identifying approximately 196 separate
         accounts receivable (the “1-E Accounts”)       Belotz Decl. at ¶¶ 10, 13-17; Exhibits E, L.
15       it intended to purchase from Infinity for a
16       total price of $203,469.67.

17        The 1-E Purchase Order was filed in
          Infinity’s chapter 7 case at ECF No. 201-
18        8 and designated as “Exhibit D-5”. A
          copy of the 1-E Purchase Order is
19        submitted herewith as Exhibit 18.
20   28. On September 16, 2020, Infinity                Tecumseh admits that the bill of sale was
21       executed an Assignment and Bill of Sale        executed but denies that it actually
         by which it sold and assigned the 1-E          represented a sale and assignment by the
22       Accounts to Tecumseh.                          Debtor to Tecumseh.

23        See September 16, 2020 Assignment and         Hemmer Trans. Vol. II (Exhibit N) at 186:9-
          Bill of Sale for the 1-E Accounts             11 (testifying that the Debtor was not
24        submitted herewith as Exhibit 19.             buying receivables and reselling them to
25                                                      Tecumseh); Belotz Decl. at ¶ 7 (same).

26                                                      Further discovery is necessary to fully
                                                        respond, including depositions of Hemmers
27                                                      and Pantelas, the Debtor’s accounting and
                                                        banking records, its correspondence, and
28

                                                   11
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 1                                                         documents and information regarding the
                                                           Debtor’s records and electronically stored
 2                                                         information. Such discovery is expected to
                                                           show the date on which the Debtor acquired
 3
                                                           the relevant Disputed Receivables from the
 4                                                         medical provider on Tecumseh’s behalf and
                                                           the date of payment to the medical provider.
 5
     29. On September 16, 2020, Tecumseh wired             Admitted. Tecumseh wired funds in that
 6       the $203,467.67 purchase price for the 1-         amount to the Debtor for the purpose of the
         E Accounts to Infinity’s Nevada State             Debtor acquiring the Disputed Receivables
 7
         Bank account ending in 8480.                      on Tecumseh’s behalf.
 8
          See monthly account statement for                Belotz Decl. at ¶¶12, 15; Hemmer Trans.
 9        Infinity’s Nevada State Bank account             Vol. II (Exhibit N) at 185:21-186:2.
          ending in 8420 dated September 30, 2020
10        submitted herewith as Exhibit 17.
11   30. On September 22, 2020, Tecumseh                   Tecumseh incorporates its response to
         issued a sixth Receivables Purchase               HASelect’s Statement of Fact No. 18 by
12
         Order to Infinity (the “1-F Purchase              reference as though fully set forth here.
13       Order”) identifying approximately 332
         separate accounts receivable (the “1-F            Belotz Decl. at ¶¶ 10, 13-17; Exhibits F-1,
14       Accounts”) it intended to purchase from           F-2, L.
         Infinity for a total price of $481,023.10.
15                                                         Further discovery is necessary to fully
          The 1-F Purchase Order was filed in              respond, including depositions of Hemmers
16                                                         and Pantelas, the Debtor’s accounting and
          Infinity’s chapter 7 case at ECF No. 201-
17        9 and designated as “Exhibit D-6”. A             banking records, its correspondence, and
          copy of the 1-F Purchase Order                   documents and information regarding the
18        submitted herewith as Exhibit 20.                Debtor’s records and electronically stored
                                                           information. Such discovery is expected to
19                                                         show the date on which the Debtor acquired
                                                           the relevant Disputed Receivables from the
20                                                         medical provider on Tecumseh’s behalf and
21                                                         the date of payment to the medical provider.

22   31. On September 25, 2020, Tecumseh wired             Admitted. Tecumseh wired funds in that
         the $481,023.10 purchase price for the 1-         amount to the Debtor for the purpose of the
23       F Accounts to Infinity’s Nevada State             Debtor acquiring the Disputed Receivables
         Bank account ending in 8480.                      on Tecumseh’s behalf.
24
          See monthly account statement for                Belotz Decl. at ¶¶12, 15; Hemmer Trans.
25
          Infinity’s Nevada State Bank account             Vol. II (Exhibit N) at 185:21-186:2.
26        ending in 8420 dated September 30, 2020
          submitted herewith as Exhibit 17.
27
     32. On September 30, 2020, Tecumseh                   Tecumseh incorporates its response to
28

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 1        issued a seventh Receivables Purchase           HASelect’s Statement of Fact No. 18 by
          Order to Infinity (the “1-G Purchase            reference as though fully set forth here.
 2        Order”) identifying 13 separate accounts
          receivable (the “1-G Accounts”) it              Belotz Decl. at ¶¶ 10, 13-17; Exhibits G, L.
 3
          intended to purchase from Infinity for a
 4        total price of $55,459.80.

 5        The 1-G Purchase Order was filed in
          Infinity’s chapter 7 case at ECF No. 201-
 6        010 and designated as “Exhibit D-7”. A
          copy of the 1-G Purchase Order
 7        submitted herewith as Exhibit 21.
 8
     33. The purchase price for the 1-G Accounts          Disputed. To facilitate the purchase of
 9       was paid using proceeds that Infinity had        receivables and collection of proceeds,
         collected on certain of the Sold Accounts        Tecumseh opened an account with Bank of
10       receivable Infinity had previously sold to       America (the “BofA Account”) that was
         Tecumseh. On September 30, 2020,                 funded by Tecumseh, and granted signing
11       Infinity paid itself the $55,459.80              authority to Hemmers and Anne Pantelas
12       purchase price for the 1-G Accounts              (along with Belotz and another Tecumseh
         through a check drawn on a Bank of               principal, Chad Meyer). The BofA Account
13       America account established by Infinity          belongs to Tecumseh. To the extent the
         and Tecumseh for the purpose of                  Debtor deposited funds in the BofA
14       collecting proceeds of the Sold Accounts         Account, it was because those funds
         (the “BOA Account”), which was                   belonged to Tecumseh. Any funds paid to
15       deposited to Infinity’s Nevada State             the Debtor were for the purpose of the
16       Bank account ending in 6375.                     Debtor acquiring receivables on
                                                          Tecumseh’s behalf. The Debtor had no
17        The BOA Account was established under           interest in any funds in the BofA Account.
          Infinity’s trade name, Infinity Health
18        Connections. See Hemmers Transcript             Hemmer Trans. Vol. II (Exhibit N) at
          (Exhibit 3), p. 119, ll. 1-25; see also         186:18-23; 189:8-15; Belotz Decl. at ¶ 12.
19        account statements from the BOA
20        Account on file in Infinity’s chapter 7
          case at ECF No. 156-1; see also monthly
21        account statement for Infinity’s Nevada
          State Bank account ending in 6375 dated
22        September 30, 2020 submitted herewith
          as Exhibit 22.
23
     34. On September 30, 2020, Infinity                  Tecumseh admits that the bill of sale was
24
         executed an Assignment and Bill of Sale          executed but denies that it actually
25       by which it sold and assigned the 1-G            represented a sale and assignment by the
         Accounts to Tecumseh.                            Debtor to Tecumseh.
26
          See September 30, 2020 Assignment and           Hemmer Trans. Vol. II (Exhibit N) at 186:9-
27        Bill of Sale for the 1-G Accounts               11 (testifying that the Debtor was not
                                                          buying receivables and reselling them to
28

                                                     13
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 1        submitted herewith as Exhibit 23.              Tecumseh); Belotz Decl. at ¶ 7 (same).

 2                                                       Further discovery is necessary to fully
                                                         respond, including depositions of Hemmers
 3                                                       and Pantelas, the Debtor’s accounting and
 4                                                       banking records, its correspondence, and
                                                         documents and information regarding the
 5                                                       Debtor’s records and electronically stored
                                                         information. Such discovery is expected to
 6                                                       show the date on which the Debtor acquired
                                                         the relevant Disputed Receivables from the
 7                                                       medical provider on Tecumseh’s behalf and
 8                                                       the date of payment to the medical provider.

 9   35. On October 4, 2020, Tecumseh issued an          Tecumseh incorporates its response to
         eighth Receivables Purchase Order to            HASelect’s Statement of Fact No. 18 by
10       Infinity (the “1-H Purchase Order”)             reference as though fully set forth here.
         identifying approximately 310 separate
11       accounts receivable (the “1-H Accounts”)        Belotz Decl. at ¶¶ 10, 13-17; Exhibits H-1,
         it intended to purchase from Infinity for a     L.
12
         total price of $149,802.81.
13
          The 1-H Purchase Order was filed in
14        Infinity’s chapter 7 case at ECF No. 201-
          011 and designated as “Exhibit D-8”. A
15        copy of the 1-H Purchase Order
          submitted herewith as Exhibit 24.
16

17   36. On October 4, 2020, Infinity executed an        Tecumseh admits that the bill of sale was
         Assignment and Bill of Sale by which it         executed but denies that it actually
18       sold and assigned the 1-H Accounts to           represented a sale and assignment by the
         Tecumseh                                        Debtor to Tecumseh.
19
          See October 4, 2020 Assignment and Bill        Hemmer Trans. Vol. II (Exhibit N) at 186:9-
20        of Sale for the 1-H Accounts submitted         11 (testifying that the Debtor was not
21        herewith as Exhibit 25.                        buying receivables and reselling them to
                                                         Tecumseh); Belotz Decl. at ¶ 7 (same).
22
                                                         Further discovery is necessary to fully
23                                                       respond, including depositions of Hemmers
                                                         and Pantelas, the Debtor’s accounting and
24                                                       banking records, its correspondence, and
                                                         documents and information regarding the
25
                                                         Debtor’s records and electronically stored
26                                                       information. Such discovery is expected to
                                                         show the date on which the Debtor acquired
27                                                       the relevant Disputed Receivables from the
                                                         medical provider on Tecumseh’s behalf and
28

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 1                                                      the date of payment to the medical provider.

 2   37. On October 7, 2020, Tecumseh wired the         Admitted. Tecumseh wired funds in that
         $149,802.81 purchase price for the 1-H         amount to the Debtor for the purpose of the
 3       Accounts to Infinity’s Nevada State Bank       Debtor acquiring the Disputed Receivables
 4       account ending in 8420.                        on Tecumseh’s behalf.

 5        See monthly account statement for             Belotz Decl. at ¶¶12, 15; Hemmer Trans.
          Infinity’s Nevada State Bank account          Vol. II (Exhibit N) at 185:21-186:2.
 6        ending in 8420 dated October 30, 2020
          submitted herewith as Exhibit 26.
 7
     38. On October 12, 2020, Tecumseh issued a         Tecumseh incorporates its response to
 8
         ninth Receivables Purchase Order to            HASelect’s Statement of Fact No. 18 by
 9       Infinity (the “1-I Purchase Order”)            reference as though fully set forth here.
         identifying approximately 718 separate
10       accounts receivable (the “1-I Accounts”)       Belotz Decl. at ¶¶ 10, 13-17; Exhibits I, L.
         it intended to purchase from Infinity for a
11       total price of $209,320.99.
12        The 1-I Purchase Order was filed in
13        Infinity’s chapter 7 case at ECF No. 201-
          012 and designated as “Exhibit D-9”. A
14        copy of the 1-I Purchase Order submitted
          herewith as Exhibit 27.
15
     39. On October 14, 2020, Tecumseh wired            Admitted. Tecumseh wired funds in that
16       the $209,320.99 purchase price for the 1-      amount to the Debtor for the purpose of the
17       I Accounts to Infinity’s Nevada State          Debtor acquiring the Disputed Receivables
         Bank account ending in 8420.                   on Tecumseh’s behalf.
18
          See monthly account statement for             Belotz Decl. at ¶¶12, 15; Hemmer Trans.
19        Infinity’s Nevada State Bank account          Vol. II (Exhibit N) at 185:21-186:2.
          ending in 8420 dated October 30, 2020
20        submitted herewith as Exhibit 26.
21
     40. On October 23, 2020, Tecumseh issued a         Tecumseh incorporates its response to
22       tenth Receivables Purchase Order to            HASelect’s Statement of Fact No. 18 by
         Infinity (the “1-J Purchase Order”)            reference as though fully set forth here.
23       identifying approximately 125 separate
         accounts receivable (the “1-J Accounts”        Belotz Decl. at ¶¶ 10, 13-17; Exhibits J-1, J-
24       and together with the 1-A Accounts, 1-B        2, J-3, J-4, L.
         Accounts, 1-C Accounts, 1-D Accounts,
25
         1-E Accounts, 1-F Accounts, 1-G
26       Accounts, 1-H Accounts, and 1-I
         Accounts, the “Sold Accounts”) it
27       intended to purchase from Infinity for a
28

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 1        total price of $136,063.26.

 2        The 1-J Purchase Order was filed in
          Infinity’s chapter 7 case at ECF No. 201-
 3        013 and designated as “Exhibit D-10”. A
 4        copy of the 1-J Purchase Order submitted
          herewith as Exhibit 28.
 5
     41. On October 26, 2020, Tecumseh wired                Admitted. Tecumseh wired funds in that
 6       the $136,063.26 purchase price for the 1-          amount to the Debtor for the purpose of the
         J Accounts to Infinity’s Nevada State              Debtor acquiring the Disputed Receivables
 7       Bank account ending in 8420.                       on Tecumseh’s behalf.
 8
          See monthly account statement for                 Belotz Decl. at ¶¶12, 15; Hemmer Trans.
 9        Infinity’s Nevada State Bank account              Vol. II (Exhibit N) at 185:21-186:2.
          ending in 8420 dated October 30, 2020
10        submitted herewith as Exhibit 26.

11   42. Through the Purchase Orders and the                Tecumseh did not pay the Debtor for the
         Sold Accounts, Tecumseh paid a total of            Disputed Receivables. It forwarded funds to
12       $1,912,083.19 to Infinity for the Sold             the Debtor so that the Debtor could acquire
13       Accounts, which had a total face value of          the Disputed Receivables on Tecumseh’s
         $6,792,518.86 at the time of sale.                 behalf and for its account.
14
          See generally Purchase Orders and                 Belotz Decl. at ¶¶ 7-17, 25 (describing
15        related documents attached as Exhibits 6-         process by which Tecumseh used the
          28.                                               Debtor as a broker to purchase receivables)
16                                                          and Exhibits B through K.
17
     43. Each of the Sold Accounts was                      Disputed. All funds to purchase the
18       purchased by Infinity using funds paid             receivables came from Tecumseh, not the
         from its operating account at Nevada               Debtor. The Debtor identified potential
19       State Bank prior to the sale or assignment         receivables for purchase, which Tecumseh
         of any interest in such Sold Account to            approved. Once Tecumseh approved a list,
20       Tecumseh and prior to the receipt of               the Debtor generated a purchase order
         payment from Tecumseh.                             which Tecumseh paid. The Debtor then
21
                                                            used Tecumseh’s money to purchase
22        A list of the Disputed Accounts is on file        receivables on Tecumseh’s behalf. The
          in Infinity’s chapter 7 case at ECF Nos.          “Date Paid” field in the lists of Disputed
23        201-1 and 201-2. That list includes a             Receivables did not represent the date that
          column labeled “PaidDate”, which                  the receivable was acquired.
24        denotes the date on which each Disputed
          Account was acquired by Infinity. See             See Hemmer Trans. Vol. II (Exhibit N) at
25
          Hemmers Transcript (Exhibit 3), pp. 38-           185:21-186:2; Belotz Decl. at ¶ 15 and at
26        39 (Q: “... the Paid Date shown here in           ¶¶ 11, 14, 22-24 (testifying that “Date Paid”
          column DV, does that represent the date           field was to represent the date that the
27        on which Infinity acquired the                    Debtor negotiated an agreement on pricing
          receivable?” A: “Yeah, that’s the date,           with a provider on Tecumseh’s behalf but
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 1        yeah.”)                                            that the date paid field was often blank, was
                                                             a placeholder and often changed, making it
 2                                                           unreliable).
 3   44. Tecumseh does not dispute that it                   HASelect misreads the Meyer Declaration
 4       purchased the Sold Accounts from                    and takes one sentence out of context.
         Infinity pursuant to the above-described            Factually, Tecumseh purchased the
 5       Purchase Orders.                                    receivables from the medical service
                                                             providers using the Debtor as a broker and
 6        See Amended Declaration of Chad Myer               payment agent.
          in Support of Motion of Party in Interest
 7        Tecumseh-Infinity Medical Receivables              See Sub-Advisory Agreement (Exhibit A) at
 8        Fund, LP to (1) Abandon Property and               Exh A., ¶ 3; Hemmer Trans. Vol. II (Exhibit
          (2) Lift Automatic Stay filed in Infinity’s        N) at 185:21-186:2; 186:9-17; Belotz Decl.
 9        chapter 7 case at ECF No. 201, ¶ 11                at ¶¶ 7-17, 25 (describing process by which
          (“[Tecumseh] purchased the remaining               Tecumseh used the Debtor as a broker to
10        Tecumseh Receivables from the Debtor.              purchase receivables).
          Attached as Exhibits D-1 to D-11 are
11        purchase orders reflecting the purchase
12        of [the] Tecumseh Receivables from the
          Debtor.”).
13
     45. Tecumseh did not file any UCC-1                     Admitted. As discussed above, Tecumseh
14       financing statement to perfect any                  did not purchase the Disputed Receivables
         interest it purchased in any of the Sold            from the Debtor with the exception of those
15       Accounts.                                           identified in the 1-A Purchase Order. As
16                                                           there was no transfer from the Debtor to
          A UCC Search Report from the Office of             Tecumseh, there was nothing to perfect.
17        the Secretary of State of the State of
          Nevada submitted herewith as Exhibit               However, further discovery is necessary to
18        29.                                                determine whether Tecumseh’s purchase
                                                             was of a significant part of the Debtor’s
19                                                           accounts receivable.
20                                                           The June 2020 purchase was for $294,000.
21                                                           It represented one set of receivables that the
                                                             Debtor held for an attempted draw on the
22                                                           HASelect facility. By that time, the Debtor
                                                             had borrowed at least $11 million from
23                                                           HASelect supported by receivables it
                                                             owned. As of the petition date, the Debtor
24                                                           held receivables with a cost value of $5.78
25                                                           million. The June 2020 purchase represents
                                                             approximately 2.7% of the $11 million
26                                                           purchased under the HASelect facility and
                                                             about 5% of the $5.78 million in receivables
27                                                           that the Debtor held at the petition date.
28

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 1                                                      Hemmer Trans. Vol. II (Exhibit N) at
                                                        186:24-187:10 and at 173:18-174:14
 2                                                      (testifying regarding the Debtor’s
                                                        schedules).
 3

 4   46. On or about December 3, 2021, Chapter          Tecumseh admits that the Trustee filed the
         7 Trustee Robert E. Atkinson, through          Sale Motion and that HASelect purchased
 5       his counsel, filed a Motion to: (I)            all of the estate’s rights and interests in the
         Approve Sale of Certain Assets; (II) Set       Disputed Receivables. However, Tecumseh
 6       Sale/Auction Procedures; and (III) Set         disputes that the estate had any interest in
         Auction Hearing Date (the “Sale                the Disputed Receivables, including the
 7
         Motion”) seeking to sell whatever              Sold Accounts, as they were Tecumseh’s
 8       interest the bankruptcy estate may have        property.
         in the Tecumseh Receivables (as defined
 9       therein) (i.e., the Disputed Accounts,         See Sub-Advisory Agreement (Exhibit A) at
         including the Sold Accounts that are the       Exh A., ¶ 3; Hemmer Trans. Vol. II (Exhibit
10       subject of this Motion) as well as all         N) at 185:21-186:2; 186:9-17; Belotz Decl.
         claims and causes of action that the           at ¶¶ 7-17, 25 (describing process by which
11                                                      Tecumseh used the Debtor as a broker to
         Trustee or bankruptcy may have relating
12       thereto. Ultimately, HASelect purchased        purchase receivables).
         all of the estate’s rights and interests in
13       the Disputed Receivables, which includes
         the Sold Accounts subject of HASelect’s
14       motion for partial summary judgment.
15

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 1         Dated April 28, 2022.

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